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UNITED STATES DISTRICT COURT                                         CIVIL CONFERENCE
EASTERN DISTRICT OF NEW YORK                                         MINUTE ORDER

 BEFORE: STEVEN I. LOCKE                                             DATE: 7/15/24
        U.S. MAGISTRATE JUDGE                                        TIME: 2:00 pm

CASE: CV 11-2481(LDH) Johnson v. Suffolk County et al
TYPE OF CONFERENCE: FINAL PRETRIAL                 FTR: 2:03-2:11

APPEARANCES:
     For Plaintiff:    Robert Rickner

       For Defendant: Stacy Skroupa

THE FOLLOWING RULINGS WERE MADE:
☐ Scheduling Order entered.

☐      The court has adopted and So Ordered the joint proposed scheduling order [        ]
       submitted by the parties.

☐      The Joint Pretrial Order is accepted for filing and the action is deemed ready for trial.
       The action will be tried in accordance with the discretion and the trial calendar of the
       District Judge.

☒      Other: Final Pretrial conference held. Motions in limine will be served on September 13,
       2024. Opposition will be served on September 27, 2024. Replies will be served and all
       papers will be filed on October 4, 2024 with a courtesy copy of all papers sent to the
       Court by overnight courier. Proposed voir dire and jury charge will be filed on
       November 21, 2024, also with a courtesy copy to chambers.

COURT APPEARANCES:
The following conference(s) will be held in courtroom 820 of the Central Islip courthouse:

           1/13/25 at 9:30 am : Jury Selection and Trial

Courtroom Deputy E-Mail: Kristin Gandiosi@nyed.uscourts.gov

                                                      SO ORDERED

                                                       /s/Steven I. Locke
                                                      STEVEN I. LOCKE
                                                      United States Magistrate Judge
